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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

ESROM DEMEKE                                                        CIVIL ACTION

VERSUS                                                              NO. 19-114-BAJ-RLB

BOARD OF SUPERVISORS OF
LOUISIANA STATE UNIVERSITY
AND A&M COLLEGE, ET AL.

                                             ORDER

       A telephone conference was held on September 18, 2019.

       PRESENT:        Esrom Demeke
                       Plaintiff

                       Sheri M. Morris
                       Counsel for Defendants

       The parties discussed the status of this matter. In light of the defendants’ extended

deadline to file responsive pleadings to the recently amended complaint, and the likelihood of

further argument and briefing regarding the sufficiency of the pleadings in this matter, the Court

will not enter a scheduling order at this time. A telephone conference is set for Friday, October

18, 2019 at 9:00 a.m. Counsel for the defendants shall initiate the call to chambers or circulate

call in information.

       Signed in Baton Rouge, Louisiana, on September 18, 2019.



                                             S
                                             RICHARD L. BOURGEOIS, JR.
                                             UNITED STATES MAGISTRATE JUDGE




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